                        IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION


HENRY HALLAGER,              ) Case No.: 5:20-cv-354-BO
                             )
           Plaintiff,        )
      vs.                    )
                             )
ACCOUNT RESOLUTION SERVICES, )
LLC; EXPERIAN INFORMATION    )
SOLUTIONS, INC,              )
                             )
           Defendants.       )
_______________)

                            STIPULATED PROTECTIVE ORDER


       IT IS HEREBY STIPULATED by and between Plaintiff Henry Hallager ("Plaintiff'),

Defendant Account Resolution Services ("ARS") and former Defendant, now third-party,

Experian Information Solutions, lnc. ("Experian") through their respective attorneys of record, as

follows:

       WHEREAS, documents and information have been and may be sought, produced or

exhibited by and among the parties to this action relating to trade secrets, confidential research,

development, technology or other proprietary information belonging to the defendants or

nonparty, and/or personal income, credit and other confidential information of Plaintiff.

       THEREFORE, an Order ofthis Court protecting such confidential information shall be

and hereby is made by this Court on the following terms:

        I.      This Order shall govern the use, handling and disclosure of all documents,

testimony or information produced or given in this action which are designated to be subject to

this Order in accordance with the terms hereof.




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       2.      Any party or non-party producing or filing documents or other materials in this

action (the " Producing Party") may designate such materials and the information contained

therein subject to this Order by typing or stamping on the front of the document, or on the

portion(s) of the document for which confidential treatment is designated, "Confidential."

       3.      If a Producing Party believes in good faith that, despite the provisions of this

Protective Order, there is a substantial risk of identifiable harm to the Producing Party if

particular documents it designates as "Confidential" are disclosed to all other parties or non-

parties to this action, the Producing Party may designate those particular documents as

"Confidential-Attorneys' Eyes Only."

       4.      Before filing any information that has been designated "Confidential," or

"Confidential-Attorneys' Eyes Only" with the Court, or any pleadings, motions or other papers

that disclose any such information, counsel shall confer with counsel for the party that produced

the information so designated about how it should be filed . If the party that produced the

information so designated desires that the materials be filed under seal, then the filing party shall

file the materials in accordance with Local Civil Rule 79.2, EDNC, with notice served upon the

producing party. The filing of the materials under seal shall not be binding on the Court,

however. Within 10 days of service of such notice, the party desiring that the materials be

maintained under seal shall file with the Court a Motion to Seal and supporting memorandum of

law specifying the interests which would be served by restricting public access to the

information. The party that initially filed the materials need not file any such Motion to Seal or

otherwise defend another party's desire that the materials remain sealed. The Court will grant the

Motion to Seal only after providing adequate notice to the public and opportunity for interested

parties to object, after carefully weighing the interests advanced by the movant and those




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interests favoring public access to judicial documents and records, and upon finding that the

interests advanced by the movant override any common law or constitutional right of public

access which may attach to the information. Documents submitted under seal in accordance with

this paragraph will remain under seal pending the Court's ruling. If the party desiring that the

information be maintained under seal does not timely file a Motion to Seal, then the materials

will be deemed unsealed, without need for order of the Court.

       5.      All documents, transcripts, or other materials subject to this Order, and all

information derived therefrom (including, but not limited to, all testimony given in a deposition,

declaration or otherwise, that refers, reflects or otherwise discusses any information designated

"Confidential" or "Confidential-Attorneys' Eyes Only" hereunder), shall not be used, directly

or indirectly, by any person, including the other Defendants, for any business, commercial or

competitive purposes or for any purpose whatsoever other than solely for the preparation for and

trial of this action in accordance with the provisions of this Order.

       6.      Except with the prior written consent of the individual or entity designating a

document or portions of a document as "Confidential," or pursuant to prior Order after notice,

any document, transcript or pleading given "Confidential" treatment under this Order, and any

information contained in or derived from any such materials (including but not limited to, all

deposition testimony that refers to, reflects or otherwise discusses any information designated

"Confidential" hereunder) may not be disclosed other than in accordance with this Order and

may not be disclosed to any person other than: ( a) the Court and its officers; (b) parties to this

litigation; (c) counsel for the parties, whether retained outside counsel or in-house counsel and

employees of counsel assigned to assist such counsel in the preparation of this litigation; (d) fact

witnesses subject to a proffer to the Com1 or a stipulation of the parties that such witnesses need




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to know such information; and (e) present or former employees of the Producing Party in

connection with their depositions in this action (provided that no former employees shall be

shown documents prepared after the date of his or her departure), and (f) experts specifically

retained as consultants or expert witnesses in connection with this litigation.

       7.      Except with the prior written consent of the individual or entity designating a

document or portions of a document as "Confidential-Attorneys ' Eyes Only," or pursuant to

prior Order after notice, any document, tran script or pleading given "Confidential-Attorneys '

Eyes Only" treatment under this Order, and any information contained in or derived from any

such materials (including but not limited to, all deposition testimony that refers to, reflects or

otherwise discusses any information designated "Confidential-Attorneys ' Eyes Only"

hereunder) may not be disclosed other than in accordance with this Order and may not be

disclosed to any person other than: (a) a party ' s retained outside counsel of record in this action,

as well as employees of said outside counsel to whom it is reasonably necessary to disclose the

information for this litigation and who have signed the " Declaration of Compliance" that is

attached hereto as Exhibit A; (b) experts specifically retained as consultants or expert witnesses

in connection with this litigation who have signed the ''Declaration of Compliance" (Exhibit A);

(c) the Court and its personnel; (d) court reporters, their staffs, and professional vendors to whom

disc losure is reasonably necessary for thi s litigation and who have signed the "Declaration of

Compliance" (Exhibit A); and (e) the author of the document or the original source of the

information.

        8.     Documents produced pursuant to this Order shall not be made available to any

person designated in Subparagraph 6(f) or 7(b) unl ess he or she shall have first read this Order,




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agreed to be bound by its terms, and signed the attached "Declaration of Comp Iiance"

(Exhibit A).

         9.     All persons receiving any or all documents produced pursuant to this Order shall

be advised of their confidential nature. All persons to whom confidential information and/or

documents are disclosed are hereby enjoined from disclosing same to any person except as

provided herein, and are further enjoined from using same except in the preparation for and trial

of the above-captioned action between the named parties thereto. No person receiving or

reviewing such confidential documents, information or transcript shall disseminate or disclose

them to any person other than those described above in Paragraph 6 and Paragraph 7 and for the

purposes specified, and in no event shall such person make any other use of such document or

transcript.

         10.    Nothing in this Order shall prevent a party from using at trial any information or

materials designated "Confidential" or "Confidential-Attorneys' Eyes Only".

         11 .   This Order has been agreed to by the parties to facilitate discovery and the

production ofrelevant evidence in this action. Neither the entry of this Order, nor the

designation of any information , document, or the like as "Confidential," or "Confidential-

Attorneys ' Eyes Only," nor the failure to make such designation, shall constitute evidence with

respect to any issue in this action.

         12.    Within sixty (60) days after the final termination of this litigation, all documents,

transcripts, or other materials afforded confidential treatment pursuant to this Order, including

any extracts, summaries or compilations taken therefrom, but excluding any materials which in

the good faith judgment of counsel are work product materials, shall be returned to the Producing

Party.




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        13.     In the event that any party to this litigation disagrees at any point in these

proceedings with any designation made under this Protective Order, the parties shall first try to

resolve such dispute in good faith on an informal basis. If the dispute cannot be resolved, the

party objecting to the designation may seek appropriate relief from this Court. During the

pendency of any challenge to the designation of a document or information, the designated

document or information shall continue to be treated as "Confidential" or "Confidential -

Attorneys ' Eyes Only" subject to the provisions of this Protective Order.

        14.    Nothing herein shall affect or restrict the rights of any party with respect to its

own documents or to the information obtained or developed independently of documents,

transcripts and materials afforded confidential treatment pursuant to this Order.

        15.    The Court retains the right to allow disclosure of any subject covered by this

stipulation or to modify this stipulation at any time in the interest of justice.

WE SO STIPULATE:


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                                            Counsel for Def endant Healthcare
                                            Revenue Recovery Group, LLC dlb/a
                                            ARS Account Resolution Services




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SO ORDERED. This ±£day of~f)te~r 2021.


                                    Tl:~dcy<
                                    UNITED STATES DISTRICT JUDGE




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                                              EXHIBIT A

                               DECLARATION OF COMPLIANCE

         I,
              - - - - - - - - - - - - - - - - -, declare as follows :
         1.       My address is _ _ _ _ _ _ _ _ _ _ __ __ _ _ _ _ _ _ __

         2.       My present employer is _ _ _ _ _ _ _ __ __ _ __ _ _ _ __

         3.       My present occupation or job description is _ _ __ _ __ _ _ _ __

         4.       I have received a copy of the Stipulated Protective Order entered in this action on

_______, 20_

         5.       I have carefully read and understand the provisions of this Stipulated Protective

Order.

         6.       I wi ll comply with all provisions of this Stipulated Protective Order.

         7.       I wi ll hold in confidence, and will not disclose to anyone not qualified under the

Stipulated Protective Order, any information, documents or other materials produced subject to

this Stipulated Protective Order.

         8.       I wi ll use such information, documents or other materials produced subject to this

Stipulated Protective Order only for purposes of this present action.

         9.       Upon termination of this action, or upon request, I will return and deliver all

information, documents or other materials produced subject to this Stipulated Protective Order,

and all documents or things which I have prepared relating to the information, documents or

other materials that are subject to the Stipulated Protective Order, to my counsel in this action, or

to counsel for the patty by whom I am employed or retained or from whom I received the

documents.

         10.      I hereby submit to the jurisdiction of this Court for the purposes of enforcing the

Stipulated Protective Order in this action.




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       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

       Executed this _ _ day of _ _ _ _ _ _, 20_, at _ _ _ _ _ _ __




                                                 QUALIFIED PERSON




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